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SALVADOR JIMENEZ-GARCIA, et al,
Plaintiffs,

-vs- Case No. 2:01-cv-539-th-3ISPC

SORRELLS BROTHERS PACKING
COMPANY, INC.,

Defendant.

 

JUI)GMENT IN A CIVIL CASE

Decision by Court. This action came before the Court and a decision has been rendered

IT IS ORDERED AND ADJUDGED
that plaintiffs Ruben Gomez Ortiz and Juan Antonio Maldonado recover of
defendant Sorrells Brothers Packing Cornpany, Inc., their costs in the sum of

$2,249.71 for which sum let execution issue.

Date: June 4, 2004

SHERYL L. LOESCH, CLERK

 

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F I L E C O P Y

06/04/2004

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